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 5
     Attorney for Charlene LeeAnn MTICHELL
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 8
 9                    IN THE UNITED STATES DISTRICT COURT FOR THE
10
                               EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA, )                  CR. No. 2:08-CR-00186 MCE
                                )
14                   Plaintiff, )                STIPULATION AND ORDER
                                )
15
               v.               )
16                              )
     CHARLENE MITCHELL,         )
17                              )
18                   Defendant. )
                                )
19                              )
20          The defendant, Charlene LeeAnn Mitchell, through her undersigned counsel, and the
21
     United States, through its undersigned counsel, agree and stipulate that the judgment and
22
     sentencing currently scheduled for Thursday, January 29, 2009 at 9:00 a.m., should be vacated
23
24   and continued until Thursday, February 12, 2009 at 9:00 a.m.

25          A continuance is necessary as acting United States Attorney Lawrence G. Brown will be
26
     at the District Court in Fresno, CA on January 29, 2009.
27
28




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            Therefore, the parties also stipulate that time should be excluded under the Speedy Trial
 1
 2   Act due to needs of counsel to prepare for sentencing and ongoing sentencing negotiation. [Local

 3   Code T4 & T2]
 4
            I, William E. Bonham, the filing party, have received authorization from acting United
 5
     Stats Attorney Lawrence G. Brown to sign and submit this stipulation and proposed order on
 6
 7   their behalf and that defense counsel has authorization from his respective client.

 8                  Accordingly, the defense and the United States agree and stipulate that judgment
 9
     and sentencing for defendant Charlene Mitchell, should be continued until 9:00 a.m. on
10
     Thursday, February 12, 2009.
11
12
13   Dated: January 27, 2009
14                                                                McGREGOR W. SCOTT
15                                                                United States Attorney

16
                                                                  By:/s/ William E. Bonham for
17
                                                                         LAWRENCE G. BROWN
18                                                                       Acting U.S. Attorney

19
20
21   Dated: January 27, 2009
                                                                  CHARLENE LEEANN MITCHELL
22                                                                    Defendant
23
                                                                  By:/s/ William E. Bonham for
24                                                                       WILLIAM E. BONHAM
                                                                         Counsel for Defendant
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                                                      2
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                                                     ORDER
 1
 2          IT IS SO ORDERED. Judgment and sentencing for defendant Charlene Mitchell

 3   currently set for Thursday, January 29, 2009 at 9:00 a.m. is vacated and continued until
 4
     Thursday, February 12, 2009 at 9:00 a.m..
 5
            I find that the continuance is necessary and that time should be excluded under the
 6
 7   Speedy Trial Act due to needs of counsel for additional time in ongoing sentencing preparation

 8   and negotiations [Local Code T4 & T2]. Accordingly, time should be excluded under the
 9
     Speedy Trial Act due to needs of counsel to prepare [Local Code T4 & T2], up to and including
10
     February 12, 2009.
11
12   Dated: February 3, 2009

13                                            __________________________________
                                              MORRISON C. ENGLAND, JR
14                                            UNITED STATES DISTRICT JUDGE
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